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             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


IN RE ANDROGEL ANTITRUST                MASTER DOCKET NO.
LITIGATION (II)                         1:09-MD-2084-TWT

ROCHESTER DRUG CO-OPERATIVE,
INC., ET AL.,
             PLAINTIFF,
                      V.
UNIMED PHARMACEUTICALS,                 CASE NO. 1:09-CV-956-TWT
LLC, ET AL.,
             DEFENDANTS.

LOUISIANA WHOLESALE DRUG
CO., INC., ET AL.,
             PLAINTIFF,
                      V.                CASE NO. 1:09-CV-957-TWT
UNIMED PHARMACEUTICALS,
LLC, ET AL.,
             DEFENDANTS.

MEIJER, INC., ET AL.,
            PLAINTIFFS,
                      V.
UNIMED PHARMACEUTICALS,                 CASE NO. 1:09-CV-958-TWT
LLC, ET AL.,
            DEFENDANTS.


                         [PROPOSED] ORDER
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RITE AID CORPORATION, ET AL.,
           Plaintiffs,
            v.                CASE NO. 1:09-CV-2776-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
           Defendants.

WALGREEN CO., ET AL.,
         Plaintiffs,
           v.                CASE NO. 1:09-CV-3019-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.

SUPERVALU, INC.,
         Plaintiff,
           v.                CASE NO. 1:10-CV-1024-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.



      Upon consideration of Plaintiffs’ Motion in Limine to Limit Live Testimony

of Defense Witnesses Unavailable to Testify in Plaintiffs’ Case-In-Chief and to

Preclude Defendants from Playing Deposition Clips During Plaintiffs’ Case-In-

Chief, and any responses thereto, the Motion is GRANTED and it is hereby

ORDERED that Defendants are precluded from calling live witnesses who were

not made available to Plaintiffs during their case-in-chief. It is further ORDERED
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that Defendants are precluded from playing video depositions during Plaintiffs

case-in-chief except those necessary under the rule of completeness.



So ORDERED this ___ day of _____________, 2019.

                                            _______________________
                                            Thomas W. Thrash, Jr.
                                            United States District Judge
